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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

NETLIST, INC.,                                     §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                   1:23-CV-136-DII
                                                   §
MICRON TECHNOLOGY, INC.,                           §
MICRON SEMICONDUCTOR                               §
PRODUCTS, INC., and MICRON                         §
TECHNOLOGY TEXAS LLC,                              §
                                                   §
               Defendants.                         §

                                               ORDER

       The Court stayed this case pending inter partes review on May 11, 2022. (Dkt. 69). The parties

last filed a joint status report on November 6, 2023. (Dkt. 84).

       The parties are ORDERED to file a joint status report on or before February 21, 2024.

       The parties are FURTHER ORDERED to file status reports every 90 days thereafter to

keep the Court apprised of the progress of inter partes review and any other relevant matters.

          SIGNED on February 7, 2024.

                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
